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 4
     Attorney for Defendant
 5   Bruce Warren Sampson, Jr.

 6
 7
                     UNITED STATES DISTRICT COURT
 8                  EASTERN DISTRICT OF WASHINGTON
                      The Honorable Salvador Mendoza, Jr.
 9
10   UNITED STATES OF AMERICA,
11                              Plaintiff,      No. 1:20-CR-2022-SMJ
12
          v.
13                                              Defendant’s Sentencing
     Bruce Warren Sampson, Jr.,                 Memorandum
14
                              Defendant.
15
16
17
          Bruce Warren Sampson, Jr., by and through his attorney, Craig D.
18
19   Webster, for the Federal Defenders of Eastern Washington and Idaho,
20   respectfully submits this sentencing memorandum, and requests that
21
     the Court impose a sentence of 14 months confinement (Credit For Time
22
23   Served), 3 years of supervised release, and restitution for Mr. Umtuch.
24   For the reasons that follow, Mr. Sampson believes a sentence of 14
25
     months confinement with supervised release is a sentence sufficient but
     Defendant’s Sentencing Memorandum 1
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 1   not greater than necessary to effectuate the purposes of sentencing
 2
     under 18 U.S.C. § 3553(a).
 3
 4
 5                               I.    Status of the Case
 6
             Mr. Sampson went to jury trial and was convicted of 2 counts of
 7
 8   assault based on the same course of conduct. He was convicted of

 9   Assault resulting in serious bodily injury and Assault with a dangerous
10
     weapon.1 Mr. Sampson has been in federal custody on the charges since
11
12   June 22, 2020.2 Mr. Sampson was charged in federal court due to his

13   status as an Indian. Mr. Sampson awaits his sentencing on August 24,
14
     2021.
15
16                     II.   Base Offense Level and Enhancements

17           Mr. Sampson has filed his objections to the draft Pre-Sentence
18
     Investigation Report (“PSR”). Mr. Sampson disagrees with probation’s
19
20   total offense level (25) and advisory, non-mandatory guideline range of

21   70-87 months. Mr. Samspon believes that his total offense level should
22
23
24   1
         See ECF No. 157.
25
     2
      Id. at pg. 2.
     Defendant’s Sentencing Memorandum 2
     Case 1:20-cr-02022-SMJ    ECF No. 160   filed 07/26/21   PageID.1328 Page 3 of 12




 1   be calculated as 17 and that his advisory, non-mandatory guideline
 2
     range should be 30-37 months. Based on the sentencing factors and the
 3
 4   unique individual characteristics of Mr. Sampson, a downward

 5   departure is justified. Regardless of the ultimate calculation, Mr.
 6
     Sampson recommends a sentence of 14 months confinement to be
 7
 8   followed by 3 years supervised release.

 9                   III.     Analysis of 18 U.S.C. § 3553(a) factors
10
          Title 18, U.S. Code § 3553(a) directs this Court to impose a
11
12   sentence that is “sufficient, but not greater than necessary” to meet the

13   purposes of punishment. 18 U.S.C. § 3553(a)(2). Based on the factors
14
     discussed below the defense believes that a sentence of 14 months
15
16   confinement to be followed by 3 years of supervised release meets this

17   standard.
18
       A. The Nature and Circumstances of the Offense and Characteristics
19        of Mr. Sampson
20
          The nature and characteristics of the offense support a sentence of
21
22   14 months confinement with 3 years of supervised release. The offense

23   in question was a fight between two intoxicated men that got out of
24
     hand. The fight was between two men that knew each other. The fight
25

     Defendant’s Sentencing Memorandum 3
     Case 1:20-cr-02022-SMJ   ECF No. 160   filed 07/26/21   PageID.1329 Page 4 of 12




 1   took place in Mr. Sampson’s hotel room where the two men had been
 2
     playing cards and drinking alcohol to excess. Mr. Sampson’s family was
 3
 4   also present. Mr. Sampson was convicted of using a dangerous weapon

 5   in the fight. The weapon used was a standard Nike Tennis Shoe that
 6
     was on Mr. Sampson’s foot. There is no suggestion that Mr. Sampson in
 7
 8   any way attempted to use a traditional weapon or to use the Nike

 9   Tennis Shoe(s) as weapons. The shoes just happened to be on his feet at
10
     the time of the fight and according to the government’s case were used
11
12   within the normal course of action of a fight.

13        Mr. Sampson was charged in federal court (instead of state court)
14
     due to his status as an Indian. If Mr. Sampson was any other ethnicity
15
16   living in Yakima County, Washington, then he would have been

17   charged and tried in state court. Had Mr. Sampson been charged in
18
     state court then he would have been a part of an open discovery process
19
20   with greater due process protections thanks to the strength of the

21   Washington State Constitution. Additionally, had Mr. Sampson been
22
     charged in state court for the same conduct he would have been charged
23
24
25

     Defendant’s Sentencing Memorandum 4
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 1   with either Assault 2 or Assault 3.3 Likewise, Mr. Sampson would have
 2
     been sentenced (if convicted) under the Washington State Guidelines.
 3
 4   Based on Mr. Sampson’s lack of serious criminal history he would have

 5   been facing a significantly lower sentencing range under Washington
 6
     State’s sentencing guidelines. Taking the more serious charge of
 7
 8   Assault 2, had Mr. Sampson been convicted of Assault 2, then counsel’s

 9   calculation of his sentencing guidelines places Mr. Sampson facing a
10
     standard range of 3-9 months, with Department of Corrections
11
12   Probation.4

13           Mr. Sampson is a 38 year old man. He is not a perfect man but he
14
     is a man that cares deeply for his children. Mr. Sampson is a person
15
16   that has struggled with alcohol and the negative impact that it has on

17   his decision making process. After a year of incarceration, Mr.
18
     Sampson has made great changes to his life. He has become clean and
19
20   sober and happily maintained that sobriety. He also has become a

21   deeply spiritual man. He has moved into God Pod at the Yakima
22
23
24   3
         See RCW 9A.36.021; 9A.36.031.
25
     4
      See RCW 9.94A.525(8) and the Washington State Sentencing Manual.
     Defendant’s Sentencing Memorandum 5
     Case 1:20-cr-02022-SMJ      ECF No. 160   filed 07/26/21   PageID.1331 Page 6 of 12




 1   County Jail and for a long stretch of time has engaged in bible studies
 2
     at the Jail. This has had a great impact on his life. Faith has opened a
 3
 4   door to him and he is making the most of it.

 5           Mr. Sampson also has made the most of what is available to him
 6
     at the Yakima County Jail. He attends AA meetings. He attends bible
 7
 8   studies. He has hand-copied scriptures from the bible for personal use

 9   and to teach others.5 Mr. Sampson’s day is scheduled around his bible
10
     studies. Mr. Sampson also has continuously engaged in educational
11
12   courses on his tablet whenever the opportunity presents itself to him.6

13   All in an attempt to rehabilitate himself for when he walks out of jail.
14
     His goal is to be better man and most of all to be a better father. Based
15
16   on the changes that he is making there is no reason to believe that he

17   cannot succeed.
18
             Mr. Sampson’s criminal history appears to be all misdemeanors
19
20   and gross misdemeanors. His history appears to be alcohol related. It

21   is transparent that alcohol and Mr. Sampson do not mix well. When
22
23
24   5
         See Declaration Exhibit A.
25
     6
      See Declaration Exhibit B.
     Defendant’s Sentencing Memorandum 6
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 1   Mr. Sampson drinks alcohol it tends to lead to poor decisions and
 2
     results in criminal convictions.
 3
 4        Overall, Mr. Sampson does not appear to have the type of criminal

 5   history that warrants years in prison. In fact, based on the changes
 6
     that he has made, a lengthy sentence would likely be counterproductive.
 7
 8   Mr. Sampson has made serious changes in his life over the past year of

 9   incarceration. He has found religious faith. He has found sobriety. He
10
     has identified where drunken violence leads. And he has paid the price.
11
12   He has been removed from his children whom he is desperate to spend

13   time with and to parent them. He is determined to teach his children to
14
     not engage in the behavior that has led him to incarceration.
15
16        Based on the offense characteristics and personal characteristics,

17   a just sentence is 14 months incarceration, 3 years of supervised
18
     release, and restitution to be paid for the harm done to Mr. Umtuch.
19
20     B. The need for the sentence imposed

21        The current offense is a serious offense. There is no doubt that
22
     Mr. Umtuch was badly injured due to Mr. Sampson’s actions. He has
23
     suffered physical and emotional loss due to Mr. Sampson’s actions. Mr.
24
25   Sampson should be required to make Mr. Umtuch whole to the best of

     Defendant’s Sentencing Memorandum 7
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 1   his ability. Mr. Sampson should be required to pay restitution for
 2
     damages caused to Mr. Umtuch. Additionally, a just punishment
 3
 4   requires incarceration for his actions. 14 months incarceration is a

 5   significant amount of time. Looking at Mr. Sampson’s criminal history,
 6
     it appears that 14 months is a significantly greater sentence than Mr.
 7
 8   Sampson has received in the past. 14 months is a long time to spend

 9   incarcerated at the Yakima County Jail. Additionally, 3 years of
10
     supervised release, will monitor Mr. Sampson to make sure that he does
11
12   not fall back into his old ways. To make sure that he remains sober. If

13   Mr. Sampson fails to obey probation then he will face additional prison
14
     time. This is just punishment for the crime. No further period of
15
16   incarceration is needed to adequately punish Mr. Sampson. He has

17   been sufficiently punished. Additional time is not necessary and has
18
     the likely potential to be counterproductive.
19
20        14 months incarceration is adequate deterrence. This is a long

21   sentence. As noted earlier, had this been in state court, then Mr.
22
     Sampson would have been looking at 3-9 months incarceration. He
23
24   already has served well over that amount of time behind bars.

25   Additionally, based on his criminal history this appears to be the
     Defendant’s Sentencing Memorandum 8
     Case 1:20-cr-02022-SMJ   ECF No. 160   filed 07/26/21   PageID.1334 Page 9 of 12




 1   longest amount of time that Mr. Sampson has ever served behind bars.
 2
     No additional time will add deterrence. It will just be punishment, not
 3
 4   deterrence. Additionally, Mr. Sampson will be monitored by United

 5   States’ Probation. He will have access to greater programs. If he
 6
     violates his probation then he will face lengthy periods of imprisonment
 7
 8   for each additional violation. That is a strong deterrent. No further

 9   time is necessary for deterrence.
10
          3 years of supervised release with drug/alcohol conditions is
11
12   sufficient to protect the public from future crime. Mr. Sampson will be

13   monitored, required to obey, and failure to do so will lead to
14
     imprisonment. Most importantly drug/alcohol treatment and other
15
16   classes will adequately protect the public. It is clear from Mr.

17   Sampson’s history that alcohol abuse leads to his criminal behavior.
18
     Without alcohol involved, it is very unlikely that Mr. Sampson would
19
20   have engaged in the conduct that led to his convictions on his current

21   charges. Mr. Sampson’s sobriety is what will ultimately protect the
22
     public.
23
24        Finally, we look to the rehabilitation opportunities. Mr. Sampson

25   has already started this process. He is much farther along than many
     Defendant’s Sentencing Memorandum 9
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 1   other defendants. He has seriously engaged in rehabilitation while in-
 2
     custody. He has taken whatever opportunities have presented
 3
 4   themselves and made the most of them. He is clean and sober. He is

 5   finding his faith. He is changing his ways. Further incarceration is not
 6
     necessary. Mr. Sampson could benefit much more from drug/alcohol
 7
 8   treatment, educational opportunities, anger management classes, and

 9   parenting classes. Before the Court is a man that wants to change, is
10
     willing to change, and has begun to change. This will be a marathon for
11
12   Mr. Sampson, not a sprint. But he has already begun the race. The

13   man that was arrested in June 2020 is not the same man that appears
14
     before the Court. The man that appears before the Court today has a
15
16   much better chance of success. His time behind bars has given him

17   sufficient time to make the necessary changes. He has done that. It is
18
     time for him to begin his new life beyond prison. No additional time is
19
20   necessary. 14 months incarceration, 3 years of supervised release, and

21   restitution is a just sentence that is sufficient but not greater than
22
     necessary.
23
24         One final thought is the fact that Mr. Sampson was convicted by a

25   jury of his peers. In the long term, this is a good thing. It is one thing
     Defendant’s Sentencing Memorandum 10
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 1   to take a plea bargain and plead guilty. It is quite another thing to be
 2
     convicted at jury trial by 12 people. Trial leads to greater acceptance
 3
 4   for one’s actions. It is what the constitutional jury system was designed

 5   to do. You put on your theory of defense and ultimately if the jury
 6
     rejects it then it is much easier to accept responsibility for your actions.
 7
 8   This is what Mr. Sampson has done. There is a peace in being found

 9   guilty after a jury trial. Counsel believes this will assist Mr. Sampson
10
     in the long term.
11
12                                    Conclusion

13         For all of the foregoing reasons, Mr. Sampson respectfully asks
14
     the Court to adopt his recommendation of 14 months confinement, 3
15
16   years of supervised release with drug/alcohol conditions, and with

17   restitution for Mr. Umtuch’s injuries. With respect, Mr. Sampson asks
18
     the Court to follow this recommendation.
19
20
21         Dated: July 26, 2021.
22
23
24
25

     Defendant’s Sentencing Memorandum 11
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 1                                          Respectfully Submitted,
 2
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11
12
                              CERTIFICATE OF SERVICE
13
14         I hereby certify that on July 26, 2021, I electronically filed the

15   foregoing with the Clerk of the Court using the CM/ECF System which
16
     will send notification of such filing to the following: Richard C. Burson,
17
18   Assistant United States Attorney, and Sean Carter, United States

19   Probation Officer.
20
                                                 By s/ Craig D. Webster
21                                                     Craig D. Webster
22
23
24
25

     Defendant’s Sentencing Memorandum 12
